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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10           v.                                         )          2:10-CR-290-RLH (PAL)
                                                        )
11   CAMERON UDY,                                       )
                                                        )
12                          Defendant.                  )

13                               AMENDED ORDER OF FORFEITURE

14           On December 6, 2010, defendant CAMERON UDY pled guilty to a One Count Criminal

15   Information charging him with Conspiracy to Commit Bank Fraud in violation of Title 18, United

16   States Code, Sections 1344 and 1349 and agreed to the forfeiture of property set forth in Forfeiture

17   Allegation One of the Criminal Information.

18           This Court finds that CAMERON UDY shall pay an in personam criminal forfeiture money

19   judgment of $100,000.00 in United States Currency to the United States of America, pursuant to Fed.

20   R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

21   States Code, Section 2461(c); and Title 21, United States Code, Section 853(p).

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 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 2   States recover from CAMERON UDY an in personam criminal forfeiture money judgment in the

 3   amount of $100,000.00 in United States Currency.
                         8th            December
 4           DATED this ______ day of __________________, 2010.

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 6
                                               UNITED  STATES
                                               CHIEF UNITED    DISTRICT
                                                            STATES        JUDGE
                                                                   DISTRICT JUDGE
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